             Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 1 of 10 PageID #:1
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                                       UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF ILLINOIS                                                  l'|AR2620fiw
                                                                                                                   THOMAS G. BRUTON
     fdF"t                t=                                                                                    CLERK, U.S. DISTRICT COURT




     Plaintif(s),                                                 )      Case    Number: 4
                                                                  )                  a-w cFsbL"-/                     Ztp-Loi6- aLLGo
                                                                  )
                                                                  )
                                                                  )    1:18-cv.0,2172
                                                                   ]   .luOge Thomas    Durkin           t.
     Defendant(s).                                                 1 iiagistrate Judge Jeffrey Gole

                               COMPLAINT OF EMPLOYMENT DISCRIMTNATION

      l. This is an action for employment discrimination.

      2.   The plaintiff is                                                                                                           of the

      county    of 0er K*                                                   in the state of         fi(tnofls
      3.   The defendant is                                                                                                         , whose


      streetaddressi,          5{S0             \J*}as+        QftTlSdr.a o *-
      (city&E-[hun--(county) ts o L-                                      (state)     :flitior-S (zP) to6t{?
      (Defendant' s telephone number)                     tj,t$t- t{n -^Fl I
      4.   The plaintiff sought employment or was employed by the defendant at (street address)




           (county)      tsOK              Gtate)     f,\\fifig(zlP code)-lo0!L2A




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                                                                                             and reference that section.]
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        The plaintiff lcheck one box)

        (a) tr               was denied employment by the defendant.

        (b) tr               was hired and is    still employed by the defendant.

        (c) tr               was employed but is no longer employed by the defendant-

        The defendant discriminated against the plaintiff on or about, or beginning on or about,
         (month)-Sz0ksd0ft'(orvi-aO--, (y.ur) 8Ol-(4.
7.1      (Choose paragraph 7.1              or   7.2, do   ngt complete both.)

         (a)      The defendant is not a federal governmental agency, and the plaintiff
                  lcheck one boxf ilhas fJhas not fileda charge or charges against the defendant

                  asserting the acts of discrimination indicated in this complaint with any of the

                  following government agencies              :



                  (D tr the United States Equal Employment Opportunity                             Commission, on or about

                             (month)

                  (ii) E        the Illinois Department of Human Rights, on or about

                             (month)                        (dav)-                (vear)-.
         (b)      [f   charges were filed with an agency indicated above, a copy of the charge is

                  attached.      M   Yes,   E No, but plaintiff will file a copy of the charge within 14 days.

         It is the policy of both the Equal Employment Opportunity Commission and the Illinois

         Department of Human Rights to cross-file with the other agency all charges received. The

         plaintiff has no reason to believe that this policy was not followed in this                          case.




7.2      The defendant is a federal governmental agency, and

         (a)           the   plaintiff previously filed     a Complaint of Employment Discrimination                     with the

             [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]

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         Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 3 of 10 PageID #:1

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         defendant asserting the acts of discrimination indicated in this court complaint.

                         'EI   Yes (month)                                (day)_              (year)

                         EI No, did not file Complaint of Employment Discrimination

         (b)             The plaintiff received a Final Agency Decision on (month)

                         (day)                 (year)

         (c)             Attached is a copy of the

                              -
                         (i) Complaint of Employment Discrimination,

                               EI    Yes E       No, but a copy will be filed within 14 days.

                         (ii) Final Agency Decision

                               E Yes E           N0, but a copy will be filed within 14 days.


8.       (Complete paragraph 8 only if defendant is not afederal governmental agency.)

         (a)        tr         the United States Equal Employnent Opportunity Commission has not

                         "     issued a Notice of Right to Sue.

         (b)     g       the United States Equal Employment Opportunity Commission has issued

                               a   Notice of Right to Sue, which was received by the plaintiff on

                               (month)@a1B1s4- (day)                      r{        (vea$ ,?O {      I      a copy of which

                               Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because of the plaintiff s fcheck only

         those that applyl:

         (a) tI           Age (Age Discrimination Employment Act).

         (b) fl           Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $1981).



               [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]

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          Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 4 of 10 PageID #:1
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           (c) d            pisability (Americans with Disabilities Act or Rehabilitation Act)

          (d) E,National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).
          (e)          E Race (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $ l98l).
          (0 fl             Religion (Title VII of the Civil Rights Act of 1964)

          (S)          E    Sex (Title    VII of the Civil Rights Act of 1964)


10.        f    tne aefendant is a state, county, municipal (city, town or village) or other local

          governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

          national origin (42 U.S.C. $ 1983).


1t.       Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

          by      28U. S.C. $ 133        l, 28U. S.C. $ I 343(a)(3 ), and 42U. S.C. $2000e-5(0(3 ); for 42
          U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$ L2ll7; for the

          Rehabilitation Act, 29 U.S.C. $ 791.


t2.       The defendantlcheck only those that applyl
          (a)     tr
                 failed to hire the plaintiff.

          (b)     tr      terminated the plaintiffs employment.

          (c)     tr      failed to promote the plaintiff.

          (d)     E       failed to reasonably accommodate the plaintiffs religion.

          (e)     tr      failed to reasonably accommodate the plaintiffs disabilities.

          (0 tr           failed to stop harassment;

          (g)     E retaliated against the plaintiffbecause       the plaintiff did something to assert rights
                          protected by the laws identified in paragraphs 9 and 10 above;

          (h)     tr      other(specify):

                [f     you need additional space for ANY section, please attach an additional sheet and reference that section.]

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      Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 5 of 10 PageID #:1
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                                                                         fu OP4-a-tL-,rii,rh
                                                                                   v--i
13.   The facts supporting the plaintiffs claim of discrimination are as follows: .[r C uw {r td
                                                                                                                            |'tw fu{tttYsY-




      tqdorckat&h*^                         .




t4.   IAGE DISCRIMINATION ONLY\ Defendant knowingly, intentionally, and willfully
      discriminated against the plaintiff.

15.   The plaintiff demands that the case be tried by a jury.                     L;   Yes   E    No

t6.   THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
      lcheck only those that apply)

      (a)          E    Direct the defendant to hire the plaintiff.

      (b)          E    Direct the defendant to re-employ the plaintiff.

      (c)          E    Direct the defendant to promote the plaintiff.

      (d)          E    Direct the defendant to reasonably accommodate the plaintiffs religion.

      (e)          fl   Direct the defendant to reasonably accommodate the plaintiffs disabilities.

      (0           E    Direct the defendant to (specify): -



                  {'lntF T             t"r,rn-s rncht- C/fel-fkfl ,
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           Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 6 of 10 PageID #:1
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         (e)           tr If available,      grant the plaintiff appropriate injunctive relief, lost wages,
                             liquidated/doub[edamages,frontpay,compensatorydamages,punitive
                             damages, prejudgment interest, post-judgment interest, and costs, including
                             reasonable attorney fees and expert witness fees.

         (h)           tr    Grant such other relief as the Court may find appropriate.




         (Plaintiff         s street address)



         (city)        UfUf'Ag [€- htslstatey Jilfir#s erp)-kSl]!-

         (Plaintiff s telephone number)                @) - l6Q--                lp   lO{




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 The issuanc e   of   this Notice of,Rigt    t   g;lggl}tqfniqJat   and Norice   of Riqlts ends the_ EEQC   process   with
 respecttoyourCharge.You@theRespondentwithin90daysfromthedat6you
 receive this Noticp. Therefore, you should keep a record ofthe date. Once the !0 day period is over, your
 right to sue is lost. If you intend to consult an attorney, you Should do so as soon as possible. Furthermore, in
 order to avoid any question that you did not act in a timely manner, if you intend to sue ori you3 own behalf;
 your suit should be filed well in advance ofthe expiration of the 90 day period.

You may file your lawsuit in a court ofcompetent jurisdiction. Filing this Notice is not sufficient. A court
complaint ritust contain a short Statement ofthe faltr of your case whiih shows that you are entitlbd to ielief.
Genirally suits are brought in the State where the alleged unlawful practice occurred, but in some cases can
be brought where relevant employment records are kept, where the employment would have been, or wheie *-
the Respondent has its main        office.

You may contact the EEOC if you have ahy questions about your rights, including advice on which court can
hear your case, or if you need to inspect and copy information contained in the case file.

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INvEsrrcATED By urs ILr,tNoIs DErARTMEM oF HUNIAN Rrcrrs (IDHR), REQUEST FoR REYIEIYING AND
COPYTNG DOCUMENTSFROiV YOURFILEMUST BE DTRECTEDTO IDHR.


A lawsuit against     a private   employer is geherally filed in the U.S. District Court.

A lawsuit under Title VII of the Civil Rights Act.'of-1964, as amended; against a State agency or a political            '
subdivision of the State is al_so generally filed in the U.S. District Court.

However, a larvsuitunderthe Age Discrimination in Employment of ihe American with Disabilities Act or,
probably, the Equal.Pay Acf agdinst a State instrumentality (an a3ency directly funded and conholled by the
State) can only be filed in a State court.

A lawsuit under the Age Discrimination in Employrnent Act or the American with Disabitities Act or the
Equal Pay Act against a political subdivision of a State, such as municipalities arid counties, may be filed in
the U.S. District Court.

For a list of the U.S. Diskict Courts, please see the reverse side.

ATToRNEY REPRESENTATION

 If you camot afford an attorney, or have been unable to obtain an attorney to represent you, the court having
iuiisdiction in your case may assist you in obtaining a lawyer. tf you plan to ask the court to help you obtain
-u
   lu*y.r, you'must make this request of the court in the form and manner. it requires. Your request to the
 courtihould be made well in advance of the 90 day period mentioned above. A request for representation
 does not ielieve you of the obligation to file a lawsuit within the 90-day period.

DBsrRucrrox orFtr,e

If you file suit, you or your attomey should forward a copy of your court complaint to this office. Your fiie                -\
*ilt then be preserved. Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months afterthe date of the Notice ofRight to Sue.

Ir vou rirp 3ur, voiion voin           imoiiliv siiouio Nourv rnrs orriCB-wnru inr              iawCu.i ri    n*olwp.
                            Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 8 of 10 PageID #:1
.   EEOC Forn|l61 (11/16)                U.S. Eouat E u puoYna E rur Opponru NlrY Coltlvusstott

                                                      DrsursseL AND Nonce oF RIcHTS
    To: Judy Davis                                                                          From: Chicago District Office
           59 East Craig Drive                                                                    500 West Madison St
           Ghicago Heights, lL 60411                                                              Suite 2000
                                                                                                  Chicago, lL 60661


                                 On behalf of person(s) aggrieved whose identity is
                                 CONFIDENTIAL (29 CFR 61601.7hD
    EEOC Charge No.                                 EEOC Representative                                                 Telephone No.

                                                     DanielLim,
    21B-2016-02260                                  State & Local Coordinator                                           (s12) 869-8082

    THE.EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
          tl         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


          E          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


          E          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

          t_l        Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                     discrimination to file your charge

          E          The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                     information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                     the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

          E          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


          E          Olher (briefly state)


                                                              . NOTICE OF SUIT RIGHTS.
                                                        (See the additional information aftached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.

                                                                          On behalf of the Commission

                                                                                                                              2t1512018
                                                                 /tt/thr4r,to &aw*a.otl ru.
    Enclosures(s)                                                                                                             (Date Mailed)
                                                                       Julianne Bowman,
                                                                        District Director
    cc:




               DAVIS STAFFING, INC.
               C/o Jogeph H. Laverty, Esq.
               Wessels, Sherman, Joerg, Liszka, Laverty, Seneczko, PC
               101 W. Second Street, Suite 307
               Davenport, lA 52801
               Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 9 of 10 PageID #:1

     .   F'ILINC SUrr rN COUNr Or CONNPETENT JUNTSDICTION
PRTvATE        SurrRrCrrs

The issuance of this /Volrc e of REhi to Sue or Dis,missal and Notice of Righls ends the EEOC process with
                                  -_-
respecttoyourCharge.vou@theRespondentwithin90daysfromthedateyou
p"iirr this Notice. Therefore, you should keep a record of ttre date. Once the 90 day period is over, your
right to sue is lost. ffyou intend to consult an attorney, you should do so as soon as possible. Furthermore, in
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your suit should be filed well in advance of the expiration of the 90 day period.

You may file your lawsuit in a oourt of competent jurisdiction. Filing this Notice is not suffioient. A court
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the Respondenthas its main office.

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hear your case, or if you need      to   inspect and copy information contained in the case file.

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n{yEsrrcATED By rm Ir,r,rxols DErARTMEM   oF HUNIAN Rrcrrs  (IDHR), nTQUEST  FoR REYIE}YING AND
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A lawsuit under Title VII of the Civil Rights Act.of-1964, as amended; against a State agency or        a   political '
subdivision of the State is also generally fiIed in the U.S. District Court.

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 does not ielieve you of the obligation to file a lawsuit within the 90-day period.

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If you file suit, you or your attorney should forward a copy of your court complaintto this office. Your fiie             .t\




*iU th", be preserved. Unl"rr you have notified us that you have filed strit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

Ir you riiu iun, vou on i;6ifr a.rionrvsv siiouio Noimv uus orriCB u,rmx iru iawiuri ii *esorYEDl
           Case: 1:18-cv-02172 Document #: 1 Filed: 03/26/18 Page 10 of 10 PageID #:1

'                              INFORMATIoN ON wTTBnn To FILE SIIIT
    You have been notified of your right to sue in Federal District Court. Suit is ordinarily filed in
    the District havingjurisdiction of the county in which the employer, against whom you filed a
    Charge of employment disorimination, is located. The telephone number listed for each
    Distriot is that ofthe Clerk of the Cciurt.
    U.S. DISTRICT COURT                              /    U.S. DISTNCT COURT
    Northern District of Illinois                         Central District of Illinois
    Eastern Division at Chicago                           Urbana Division
    219 South Dearborn Skeet                              201 South Vine
    Chicago, IL 60604                                     Urban4IL 61801
    312-435-5670                                          217-373-5830
                                 Counties                                         Counties
    Sook                                   Kendall        Chamoaien                      Kankakee
    DuPaee                                 Lake           Coles                          Macon
  Grundy                                   LaSalle        Douelas                        MoulEie
  Kane                                     witl           Edear                          Piatt
                                                          Ford                           Vermillion
                                                          Iroouois
 U.S. DISTNCT COURT                                       Peorir_Division
 Northern District of Illinois
 Western Division at Rockford                             100 N.E. Moiroe Street
 211 South Court Street                                   135 Federal Building
 Federal Building                                         Peoria,IL 61602
 Rockford, IL          6ll0l                              309-671.7tt7
 815=987-4355

                                 Counties                                         Counties
 Boone                                 McHenru            Bureau                         McLean
 Carroll      -                        OgIe              Fulton -                        Peoria   ',

 DeKalb                                Stephenson         Hancock                        Puham
 JoDaviess                             Whiteside         Knox                            Sta*
 Lee                                   Winnebaeo          l,ivinqstnn                    Tazewell
                                                         Marshall                        Woodford
                                                         McDonouEh
 U.S. DISTRICTCOURT                                      Rock Island Division
 Sguthe:'n Distr!ct of Il!ino!s                          211 19th Stieet
 750 Missouri Avenue                                     Rock Island, IL 61201
East St.          Louis,IL   62201                       309-793-5778
 618-482-067t
                                     qnd
301 Main Street
Benton,           il.62812
 618-438-067t
                                 Counties                                         Counties
 4.lexander                            Iohnson           Henderson                       Rock Island
Bond                                   Lawrence          'Henrv                          Warren
Calhoun                                Madison           Mercer
Clark                                  Marion            Sprinelield Division
Clinton                                Monroe            600 East Monroe Street
CrewFord                               Perrv             Springfield, IL 62701
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                                                         2t7-492-4020
Edwards                                Pulaski
Effinsham                              Randolph                                   Counties
Favette                                Richland          Adams                         losan
Franklin                               St. Clair         Brown                           Macoupin
Gallatin                               Saline            Cass                            Mason
Hamilton                              Union              Christian                       Menard
Hardin                                 Wabash            DelVitt                         Montsomerv
Jackson                               Washineton         Green                           Morsan
Jasper                                Wayne              Pike                            Schuvler
Jti:ffeiion                           White              Shelhv
Jersey                                Williamson
